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           ERDMAN
           XXXXXXXX



                                      On 10/4/2021 Judge Bremer ordered Indictment to be
                                      amended to reflect defendant's true and correct name of
                                      KHRISTA KAYE ERDMEN.




                                                                    ERDMAN
                                                                    XXXXXXX
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            ERDMAN
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